Case 2:07-md-01873-KDE-MBN Document 13203 Filed 04/06/10 Page 1 of 2




                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

  IN RE: FEMA TRAILER
  FORMALDEHYDE PRODUCTS                         MDL NO. 07-1873
  LIABILITY LITIGATION
                                                SECTION "N" (5)
  THIS DOCUMENT RELATES
  TO THE FOLLOWING CASES:
  Louis Bosarge, et al v. R Vision Homes, LLC., et al
  Civil Action Number 10-0223



           PLAINTIFF'S SUPPLEMENTAL AND AMENDING COMPLAINT


         NOW INTO COURT, through undersigned counsel, come Plaintiffs, Louis Bosarge,

  and all individuals listed on Exhibit A herein, who do desire to amend their Original

  Complaint, as follows:

                                                I.

         By amending Paragraph I "Parties", Paragraph 4 to read as follows:

  "4.    The following contractor received a No-Bid contract from FEMA and was

         tasked with, amongst other things, performing significant functions in the

         transportation, delivery, installation, maintenance and repair, de-installation and

         refurbishment of the temporary housing units provided by FEMA to the victims of

         hurricanes Katrina and Rita. They are hereinafter referred to as "Defendant-

         Contractor"):

         (c)     CH2M Hill, Inc., is a foreign corporation authorized to do and doing

                 business in the State of Louisiana, whose principal place of business is

                 located at 9191 South Jamaica Street, Englewood, Colorado. At all times




                                                1
Case 2:07-md-01873-KDE-MBN Document 13203 Filed 04/06/10 Page 2 of 2




                 material herein, CH2M Hill, Inc. has appointed as its agent for service of

                 process, CT Corporation System, 5615 Corporate Boulevard, Suite 400B,

                 Baton Rouge, Louisiana 70808."

                                                II.

         Plaintiffs reiterate and reaver all remaining allegations contained in their Original

  Complaint and all subsequent amending complaints, as if copied therein, in extenso.

         WHEREFORE, Plaintiffs pray that they be granted Leave of Court and that their

  Supplemental and Amending Complaint be filed and amended thereby.



                                         LAW OFFICES OF RONNIE G. PENTON
                                         209 HOPPEN PLACE
                                         BOGALUSA, LOUISIANA 70427
                                         PHONE      :     (985) 732-5651
                                         TELECOPIER :     (985) 735-5579
                                         E-MAIL     :     rgp@rgplaw.com



                                         s/Ronnie G. Penton
                                         Ronnie G. Penton
                                         Trial Counsel for Plaintiff
                                         Louisiana Bar Roll Number 10462




                                                2
